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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

                               Plaintiff,                               ORDER

                - against -                                         17-cr-556 (ER)

GILBERT ARMENTA,

                               Defendant.


Ramos, D.J.:

         On January 31, 2023, Matthew Lee of the Inner City Press moved to be heard on his

motion to remove certain redactions from the defendant’s sentencing memorandum in the above-

captioned matter. Doc. 66. The Court held a hearing on February 14, 2023. The Court has

completed an in camera review of the redactions and has concluded that the redactions are

proper in accordance with Section 21 of the Southern District’s ECF Rules & Instructions and

this Court’s Individual Practices.

SO ORDERED.

Dated:     February 14, 2023
           New York, New York
                                                           _______________________
                                                           Edgardo Ramos, U.S.D.J.
